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                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

       IN RE:
                                                      §
       CHUB CAY LLC                                   §             CASE NO. 22-50615-mmp
                                                      §
                                                      §             CHAPTER 11
       DEBTORS                                        §


             CHUB CAY LLC'S PLAN OF REORGANIZATION, DATED 9/6/2022

                                            ARTICLE I
                                            SUMMARY

               This Plan of Reorganization (the "Plan") under chapter 11 of the Bankruptcy
       Code (the "Code") proposes to pay creditors of Chub Cay LLC, (the "Debtor") from
       sale proceeds from the sale of Debtor's real property assets.

              This plan provides for 2 classes of secured claims; 1 class of unsecured
       claims; and 0 classes of equity security holders. This Plan also provides for the
       payment of administrative and priority claims.

               All creditors and equity security holders should refer to Articles III through VI
       of this Plan for information regarding the precise treatment of their claim. A disclosure
       statement that provides more detailed information regarding this Plan and the rights of
       creditors and equity security holder has been circulated with this Plan. Your rights
       may be affected. You should read these papers carefully and discuss them with
       your attorney, if you have one. (If you do not have an attorney, you may wish to
       consult one.)

                                     ARTICLE II
                       CLASSIFICATION OF CLAIMS AND INTERESTS

                2.01   Class 1.    The claims of creditors to the extent allowed as a secured
                                   claim under § 506 of the Code against the Real Property
                2.02   Class 2.    The claim of Bexar County, to the extent allowed as a
                                   secured claim under § 506 of the Code.



                2.03   Class 3.    All unsecured claims.
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                                     ARTICLE III
                  TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                    U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

             3.01 Unclassified Claims. Under section § 1123(a)(1), administrative
       expense claims, and priority tax claims are not in classes.

               3.02 Administrative Expense Claims. Each holder of an administrative
       expense claim allowed under § 503 of the Code, and a "gap" claim in an involuntary
       case allowed under § 502(f) of the Code, will be paid in full on the effective date of this
       Plan (as defined in Article VII), in cash, or upon such other terms as may be agreed
       upon by the holder of the claim and the Debtor. This may include payment from the
       proceeds of the sale of the Real Property.

               3.03 Priority Tax Claims. Debtor does not believe any Priority Tax Claims
       exist. However, should a priority tax claim be filed, each holder of a priority tax claim
       will be paid consistent with § 1129(a)(9)(C) of the Code.

              3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C.
       § 1930(a)(6) (U.S. Trustee Fees) will accrue and be timely paid until the case is closed,
       dismissed, or converted to another chapter of the Code. Any U.S. Trustee Fees owed
       on or before the effective date of this Plan will be paid on the effective date.

                                ARTICLE IV
              TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

              4.01    Claims and interests shall be treated as follows under this Plan:

  Class                            Impairment                      Treatment
  Class 1 - Secured claims against Impaired                        At the closing of the sale of
  the Real Property                                                the Real Property, the Class
                                                                   1 claim shall be paid in full
                                                                   with interest accruing from
                                                                   the Petition Date at a rate of
                                                                   5% per annum.
  Class 2 - Secured claim of Bexar Impaired                        At the closing of the sale of
  County                                                           the Real Property, the Class
                                                                   2 claim shall be paid in full
                                                                   with interest accruing from
                                                                   the Petition Date at a rate of
                                                                   12% per annum.
  Class 3 -Unsecured claims          Impaired                      At the closing of the sale of
                                                                   the Real Property, the Class
                                                                   3 claim shall be paid in full

                                             ARTICLE V

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                      ALLOWANCE AND DISALLOWANCE OF CLAIMS

               5.01 Disputed Claim. A disputed claim is a claim that has not been allowed
       or disallowed by a final non-appealable order, and as to which either: (i) a proof of
       claim has been filed or deemed filed, and the Debtor or another party in interest has
       filed an objection; or (ii) no proof of claim has been filed, and the Debtor has scheduled
       such claim as disputed, contingent, or unliquidated.

             5.02 Delay of Distribution on a Disputed Claim. No distribution will be
       made on account of a disputed claim unless such claim is allowed by a final
       non-appealable order.

               5.03 Settlement of Disputed Claims. The Debtor will have the power and
       authority to settle and compromise a disputed claim with court approval and compliance
       with Rule 9019 of the Federal Rules of Bankruptcy Procedure.

                               ARTICLE VI
        PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

               6.01   Assumed Executory Contracts and Unexpired Leases.

                     (a)     The Debtor assumes the following executory contracts and/or
       unexpired leases effective upon the Debtor is not a party to any executory contract:

       Party                         Description of Contract       Election
       None.

                       (b)    The Debtor will be conclusively deemed to have rejected all
       executory contracts and/or unexpired leases not expressly assumed under section
       6.01(a) above, or before the date of the order confirming this Plan, upon the Debtor is
       not a party to any executory contract. A proof of claim arising from the rejection of an
       executory contract or unexpired lease under this section must be filed no later than sixty
       (60) days after the date of the order confirming this Plan.

       Party                         Description of Contract       Election
       None.

                                    ARTICLE VII
                       MEANS FOR IMPLEMENTATION OF THE PLAN

               Debtor shall have ninety (90) days from October 1, 2022 to sell the Real
       Property for an amount sufficient to pay the secured, unsecured and priority claims
       asserted against the Debtor.

                                        ARTICLE VIII
                                     GENERAL PROVISIONS

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               8.01 Definitions and Rules of Construction. The definitions and rules of
       construction set forth in §§ 101 and 102 of the Code shall apply when terms defined or
       construed in the Code are used in this Plan, and they are supplemented by the following
       definitions:


               8.02 Effective Date of Plan. The effective date of this Plan is the first
       business day following the date that is fourteen days after the entry of the order of
       confirmation. If, however, a stay of the confirmation order is in effect on that date, the
       effective date will be the first business day after the date on which the stay of the
       confirmation order expires or is otherwise terminated.

              8.03 Severability. If any provision of this Plan is determined to be
       unenforceable, the determination will in no way limit or affect the enforceability and
       operative effect on any other provision of this Plan.

               8.04 Binding Effect. The rights and obligations of any entity named or
       referred to in this Plan will be binding upon, and will inure to the benefit of the
       successors or assigns of such entity.

              8.05 Captions. The headings contained in this Plan are for convenience of
       reference only and do not affect the meaning or interpretation of this Plan.

               8.06 Controlling Effect. Unless a rule of law or procedure is supplied by
       federal law (including the Code or the Federal Rules of Bankruptcy Procedure), the
       laws of the State of Texas govern this Plan and any agreements, documents, and
       instruments executed in connection with this Plan, except as otherwise provided for in
       this Plan.

              8.07 Real Property. "Real Property" shall mean the following parcel of
       commercial real property: Lot 39 Block 9 NCB 8340 FUCD Subdivision, San Antonio,
       Bexar County, Texas generally known as 100 St. Cloud, San Antonio, Texas.



                                            ARTICLE IX
                                            DISCHARGE

               9.01 Discharge. On the confirmation date of this Plan, the debtor will be
       discharged from any debt that arose before confirmation of this Plan, subject to the
       occurrence of the effective date, to the extent specified in § 1141(d)(1)(A) of the Code,
       except that the Debtor will not be discharged of any debt: (i) imposed by this Plan; (ii)
       of a kind specified in § 1141(d)(6)(A) if a timely complaint was filed in accordance
       with Rule 4007(c) of the Federal Rules of Bankruptcy Procedure; or (iii) of a kind
       specified in § 1141(d)(6)(B).

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                                      ARTICLE X
                                   OTHER PROVISIONS

             10.1.    Modification. The Debtor may amend, modify or withdraw the Plan
       at any time prior to the Confirmation Date. The Debtor may amend or modify this
       Plan in accordance with §1127 of the Bankruptcy Code at any time on or prior to
       the Effective Date. After the Effective Date, Debtor may propose amendments to the
       Plan for approval by the Bankruptcy Court.

            Dated: September 6, 2022
                                                  VILLA & WHITE LLP

                                                  By: /s/ Morris E. “Trey” White III
                                                  Morris E. “Trey” White III
                                                  Texas State Bar No. 24003162
                                                  1100 NW Loop 410 #802
                                                  San Antonio, Texas 78213
                                                  treywhite@villawhite.com
                                                  Tel: (210) 225-4500
                                                  Fax: (210) 212-4649




                           CERTIFICATE OF SERVICE

              I hereby certify that on September 6, 2022 a true and correct copy of the
       above and foregoing document was served on the following pursuant to Bankruptcy
       Rule 9013.




                                                  _/s/ Morris E. “Trey” White III
                                                  MORRIS E. “TREY” WHITE III




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